      Case 2:15-cv-00174-SMJ              ECF No. 18   filed 04/26/16   PageID.143 Page 1 of 3




 1   Jaime Drozd Allen, WSBA #35742
     Ross Siler, WSBA # 46486
 2   Davis Wright Tremaine LLP
     Suite 2200
 3   1201 Third Avenue
 4   Seattle, WA 98101-3045
     T: (206) 757-8039
 5   F: (206) 757-7039
 6
 7                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WASHINGTON
 8                                   AT SPOKANE
 9
10   WENDY FLEMING, on behalf of herself
     and all others similarly situated,
11                                                          No. 2:15-cv-00174-SMJ
                                     Plaintiff,
12           v.                                             NOTICE OF APPEARANCE
13                                                          Clerk’s Action Required
     GREYSTAR MANAGEMENT
14   SERVICES, L.P., a Delaware corporation,
15   WILLIAM SIMMONS, and EMMETT
     HIGGINS,
16
                                        Defendants.
17
18
     TO:              CLERK OF THE COURT
19
20   AND TO:          ALL PARTIES OF RECORD
21           PLEASE TAKE NOTICE that Ross Siler of Davis Wright Tremaine LLP
22   enters his appearance herein, on behalf of Defendants Greystar Management
23   Services, L.P., William Simmons and Emmett Higgins. All future pleadings and
24   documents, except process, should be served upon him at the address below.
25   //
26   //

     NOTICE OF APPEARANCE- 1
     DWT 29430476v1 0105513-000001                                             Davis Wright Tremaine LLP
                                                                                        L AW O F FI CE S
                                                                                            Suite 2200
                                                                                      1201 Third Avenue
                                                                                    Seattle, WA 98101-3045
                                                                             206.622.3150 main · 206.757.7700 fax
      Case 2:15-cv-00174-SMJ         ECF No. 18   filed 04/26/16   PageID.144 Page 2 of 3




 1           DATED this 26th day of April, 2016.
 2
                                         Davis Wright Tremaine LLP
 3                                       Attorneys for Defendants Greystar Management
                                         Services, L.P., William Simmons and Emmett
 4                                       Higgins
 5
                                         By s/ Ross Siler
 6                                          Ross Siler, WSBA #46486
 7                                          ross.siler@dwt.com
 8                                          DAVIS WRIGHT TREMAINE LLP
                                            1201 Third Avenue, Suite 2200
 9                                          Seattle, WA 98101
10                                          Telephone: (206) 757-8120
                                            Facsimile: (206) 757-7120
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     NOTICE OF APPEARANCE- 2
     DWT 29430476v1 0105513-000001                                        Davis Wright Tremaine LLP
                                                                                   L AW O F FI CE S
                                                                                       Suite 2200
                                                                                 1201 Third Avenue
                                                                               Seattle, WA 98101-3045
                                                                        206.622.3150 main · 206.757.7700 fax
      Case 2:15-cv-00174-SMJ          ECF No. 18   filed 04/26/16   PageID.145 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2
             The undersigned certifies that on the 26th day of April, 2016, he
 3
 4   electronically filed the foregoing with the Clerk of the Court using the CM/ECF
 5   which will send notification of such filing to the following counsel of record:
 6
     Kirk D. Miller, WSBA #40025
 7   Miller Law Firm
 8   421 W. Riverside Ave. Suite 704
     Spokane, WA 99201
 9   kmiller@millerlawspokane.com
10
     Brian Cameron, WSBA #44905
11   Shayne Sutherland, WSBA #44593
12   421 West Riverside Avenue
     660 Paulsen Center
13   Spokane, WA 99201-0410
14   bcameron@cameronsutherland.com
     ssutherland@cameronsutherland.com
15
16           I certify under penalty of perjury that the foregoing is true and correct.
17
             Executed on: April 26, 2016.
18
19
                                          s/Ross Siler
20                                        Ross Siler
21
22
23
24
25
26


     NOTICE OF APPEARANCE- 3
     DWT 29430476v1 0105513-000001                                         Davis Wright Tremaine LLP
                                                                                    L AW O F FI CE S
                                                                                        Suite 2200
                                                                                  1201 Third Avenue
                                                                                Seattle, WA 98101-3045
                                                                         206.622.3150 main · 206.757.7700 fax
